IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA : CRIMINAL NO. 22-cr-__ (GJO)
v.

ELMER STEWART RHODES III,

KELLY MEGGS,

KENNETH HARRELSON,

JESSICA WATKINS,

JOSHUA JAMES,

ROBERTO MINUTA,

JOSEPH HACKETT,

DAVID MOERSCHEL,

BRIAN ULRICH,

THOMAS CALDWELL, and

EDWARD VALLEJO,

Defendants.
ORDER
This matter having come before the Court pursuant to the application of the United States
to seal the Indictment, the Court finds that, because of such reasonable grounds to believe the
disclosure will result in flight from prosecution, destruction of or tampering with evidence, and
serious jeopardy to the investigation, the United States has established that a compelling
governmental interest exists to justify the requested sealing.
1, IT IS THEREFORE ORDERED that the application is hereby GRANTED, and that

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the Indictment, the Arrest Warrants for Elmer Stewart Rhodes III and Edward Vallejo, the instant
application to seal, and this Order are sealed.

2. IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the
public docket of the Indictment.

3. IT IS FURTHER ORDERED that the Indictment in this case be unsealed upon the
government’s written notification to the Court of the execution of the Arrest Warrant for Elmer

Stewart Rhodes III and/or Edward Vallejo.

Date: January 12, 2022

G. MICHAEL HARVEY
UNITED STATES MAGISTRATE JUDGE
